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 1 ADAM L. BRAVERMAN
   United States Attorney
 2 BRUCE C. SMITH
   Assistant U.S. Attorney
 3 California State Bar No. 078225
   Federal Office Building
 4 880 Front Street, Room 6293
   San Diego, California 92101-8893
 5 Telephone: (619) 546-8266
   E-mail: bruce.smith@usdoj.gov
 6
   Attorneys for Plaintiff
 7 United States of America
 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                         Case No. '18CV2614 BEN BGS
11                      Plaintiff,                     COMPLAINT FOR
                                                       FORFEITURE
12          v.
13   $802,700.00 IN U.S. CURRENCY,
14                      Defendant.
15
16         By way of complaint against the defendant, $802,700.00 IN U.S. CURRENCY
17 (“$802,700 in currency”), plaintiff UNITED STATES OF AMERICA alleges:
18         1.    This Court has jurisdiction over this action by virtue of the provisions of
19 Title 28, United States Code, Section 1355, and Title 21, United States Code,
20 Section 881(a)(6), because the defendant $802,700 in currency constitutes money or
21 personal property furnished or intended to be furnished in exchange for controlled
22 substances, or proceeds traceable to an exchange for controlled substances in violation of
23 Chapter 13 of Title 21, United States Code.
24         2.    Furthermore, this Court has jurisdiction over this action by virtue of the
25 provisions of Title 28, United States Code, Section 1355(a), and Title 31, United States
26 Code, Sections 5332(c) and because the defendant $802,700 in currency constitutes
27 property involved in a violation of Title 31, United States Code, Section 5332(a), attempted
28 bulk cash smuggling.

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 1        3.      Venue is proper in this district pursuant to Title 28, United States Code,
 2 Section 1395 because the defendant $802,700 in currency was found in this district.
 3        4.      On May 24, 2018 at approximately 6:00 p.m., in the Southern District of
 4 California, at the San Ysidro Port of Entry (“POE”) Alejandro Perez (“Perez”) entered the
 5 United States from Mexico as the driver and sole occupant of a grey 2007 Chevrolet
 6 Suburban SUV bearing California license plate number 5XAB195 (“2007 Chevrolet
 7 Suburban SUV”).
 8                A.    Perez was the registered owner of the 2007 Chevrolet Suburban SUV.
 9                B.    When Perez arrived in the vehicle pre-primary area, a U.S. Customs
10 And Border Protection (“CBP”) Canine Enforcement Officer (“CEO”) and his assigned
11 CBP controlled substance detection dog were patrolling the area.
12                C.    The CBP controlled substances detection dog alerted to the 2007
13 Chevrolet Suburban, indicating to the trained and experienced CEO that it detected the
14 scent or aroma of one or more controlled substances emanating from or upon the vehicle.
15                D.    The CBP CEO told a CBP officer in the vehicle primary area of the
16 alert, and directed Perez and the 2007 Chevrolet Suburban SUV into the nearby vehicle
17 secondary area for a more thorough inspection.
18                E.    In the vehicle secondary area, Perez was separated from the 2007
19 Chevrolet Suburban while the vehicle was examined.
20                F.    CBP officers in the vehicle secondary area pulled back a portion of
21 floor carpet inside the 2007 Chevrolet Suburban SUV, and discovered an after- market,
22 non factory-installed hatch or hinged access panel installed directly over the fuel tank
23 sender unit.
24                G.    By virtue of the location and size of the after-market, non-factory
25 installed hatch, when opened, it offered direct access to a removable panel on the top of
26 the fuel tank.
27                H.    The trained and experienced CBP officers knew criminals frequently
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 1 used vehicle fuel tanks to hide and conceal contraband and bulk cash when smuggling those
 2 items in or out of the United States.
 3               I.    The trained and experienced CBP officers quickly determined the fuel
 4 tank of the 2007 Chevrolet Suburban SUV held no contraband or foreign objects
 5               J.    The CBP officers re-sealed the fuel tank, closed the smuggling hatch,
 6 returned the carpet to its original position, and sent Perez and the 2007 Chevrolet Suburban
 7 SUV on their way north.
 8               K.    The inspection of the 2007 Chevrolet Suburban SUV was conducted in
 9 a way that did not alert Perez to the CBP officers’ discovery.
10               L.    Meanwhile, the CBP officers entered their discovery of the smuggling
11 compartment access hatch, its description, and location in the 2007 Chevrolet Suburban
12 SUV into law enforcement records. The 2007 Chevrolet Suburban SUV was identified as
13 a suspected smuggling vehicle.
14        5.     During all relevant times herein, Perez, a United States citizen born in 1990,
15 resided in Compton, in the Central District of California.
16        6.     During the approximate six (6) month period leading up to July 4, 2018, Perez
17 entered the United States from Mexico approximately 17 times at ports of entry in the
18 Southern District of California.
19               A.    In each of the approximate 17 POE crossings, Perez was the driver of
20 the 2007 Chevrolet Suburban SUV.
21        7.     During the approximate 18 month period leading up to July 4, 2018, Perez
22 entered the United States from Mexico approximately 78 times at ports of entry in the
23 Southern District of California.
24        8.     On July 4, 2018, in the Southern District of California, United States Border
25 Patrol (“USBP”) Agent Perez was in uniform, operating a marked USBP vehicle, and
26 engaged in highway traffic check duties along Interstate Highway 15 (“I-15”).
27        9.     Agent Perez, among other things, conducted targeted enforcement and anti-
28 smuggling operations within the Murrieta, California USBP Station area of responsibility.

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 1               A.     Agent Perez routinely conducted enforcement duties along I-15, as it
 2 was well-known as a corridor used by criminals engaged in the smuggling and
 3 transportation of undocumented immigrants, controlled substances, and currency generated
 4 by those illegal activities.
 5               B.     The area patrolled that day by Agent Perez is located roughly 70 miles
 6 north of the international border between the United States and Mexico.
 7               C.     USBP Agent Perez was trained and had experience in highway
 8 smuggling interdiction operations, and was familiar with smuggling trends and techniques.
 9               D.     Agent Perez was sensitive to and observant of common or typical
10 behaviors of individuals engaged in the transportation of undocumented migrants,
11 controlled substances, and currency generated by those illegal enterprises.
12               E.     Agent Perez had a history of successfully detecting and intercepting
13 vehicles engaged in transporting undocumented migrants, controlled substances, and
14 currency generated by those illegal enterprises.
15         10.   USBP Agent Perez was trained and experienced, and knew the northbound
16 lanes of the I-15 Highway, between the United States / Mexico international border and
17 the Central District of California, was a stretch of highway frequently relied upon by
18 northbound smugglers of illegal controlled substances and undocumented immigrants.
19         11.   USBP Agent Perez was trained and experienced, and knew the southbound
20 lanes of the I-15 Highway, between the Central District of California and the
21 United States/Mexico international border, was a stretch of highway frequently relied upon
22 by transporters and smugglers of proceeds, in the form of U.S. currency and other monetary
23 instruments, from the sale and distribution of illegal controlled substances and from fees
24 paid for the smuggling and transportation of undocumented immigrants.
25         12.   USBP Agent Perez knew individuals and organized criminal groups smuggled
26 illegal controlled substances and undocumented immigrants from Mexico into the Southern
27 District of California.
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 1         13.   USBP Agent Perez knew the illegal controlled substances were also
 2 transported to the Central District of California for distribution and sale.
 3               A.       USBP Agent Perez knew the sale of illegal controlled substances was
 4 virtually     always      conducted    as    an    exchange     of    drugs    for   money.
 5         14.    USBP Agent Perez knew smuggled undocumented immigrants were
 6 frequently transported to the Central District of California.
 7               A.       USBP Agent Perez knew upon delivery to the Central District of
 8 California, the smuggled undocumented immigrants or their relatives paid the smugglers
 9 and transporters with money.
10         15.   On July 4, 2018 at approximately 8:55 a.m., in the Southern District of
11 California, USBP Agent Perez was in his assigned marked USBP vehicle, travelling
12 southbound on the I-15, near Rainbow, California.
13               A.       Agent Perez received a service radio broadcast from USBP Murrieta
14 Dispatch, directing him to be on the look out for the 2007 Chevrolet Suburban SUV.
15               B.       The USBP broadcast alerted Agent Perez the 2007 Chevrolet Suburban
16 SUV, a suspected contraband smuggling vehicle, was travelling southbound on the I-15,
17 and was approaching his position.
18               C.       Immediately after receiving the USBP broadcast, from his position in
19 lane number three (3), Agent Perez observed the approaching 2007 Chevrolet Suburban
20 SUV southbound in lane number one (1).
21         16.   As the 2007 Chevrolet Suburban SUV came alongside Agent Perez’ marked
22 USBP vehicle, the driver of the 2007 Chevrolet Suburban SUV, later identified as
23 Alejandro Perez, suddenly reduced the speed of the vehicle.
24               A.       Agent Perez recognized Alejandro Perez’ sudden reduction in speed as
25 a behavior common for drivers engaged in criminal conduct.
26               B.       Most drivers know USBP agents do not issue traffic citations for
27 Vehicle Code violations such as speeding.
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 1        17.    Agent Perez positioned his marked USBP vehicle in lane number two (2), and
 2 drove alongside Alejandro Perez and the 2007 Chevrolet Suburban SUV.
 3               A.    As Agent Perez paced Alejandro Perez and the 2007 Chevrolet
 4 Suburban SUV, Agent Perez noticed Alejandro Perez displayed a series of behaviors or
 5 actions which, in Agent Perez’ training and experience, were indicative of a driver
 6 experiencing unreasonably elevated levels of anxiety or nervousness.
 7        18.    Agent Perez maneuvered his marked USBP vehicle from the number two (2)
 8 lane to the number one (1) lane, and took a position at a safe distance, directly behind
 9 Alejandro Perez and the 2007 Chevrolet Suburban SUV.
10               A.    As Agent Perez entered the number one (1) lane, Alejandro Perez
11 suddenly and abruptly exited the number one (1) lane, and entered the number two (2) lane,
12 thereby positioning the 2007 Chevrolet Suburban SUV into a very small and unsafe open
13 space between two (2) other vehicles in the number two (2) lane.
14               B.    Alejandro Perez’ lane change was as dangerous a maneuver as it was
15 unnecessary, as no vehicles were in front of the 2007 Chevrolet Suburban SUV in the
16 number one (1) lane.
17        19.    Agent Perez notified fellow USBP Agents Hagen and Pinones, also in a
18 marked USBP vehicle at a position on the I-15 Highway south of Agent Perez, and directed
19 them to position their marked USBP vehicle in a highly visible place alongside the
20 southbound lanes of the I-15 Highway.
21               A.    USBP Agents Hagen and Pinones took a position in their marked USBP
22 vehicle alongside the southbound lanes of the I-15 Highway, south of the Old Highway
23 395 Bridge.
24               B.    As Alejandro Perez and the 2007 Chevrolet Suburban SUV came
25 within sight of USBP Agents Hagen and Pinones in the marked USBP vehicle, Alejandro
26 Perez tapped the brakes of the 2007 Chevrolet Suburban SUV several times.
27               C.    Based upon his training and experience, Agent Perez recognized driver
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 1 Alejandro Perez’ behavior as another display of his unreasonably elevated levels of anxiety
 2 or nervousness.
 3               D.     Meanwhile, Agent Perez was aware of the May 24, 2018 event at the
 4 San Ysidro POE when the 2007 Chevrolet Suburban SUV was identified as a
 5 smuggling vehicle.
 6         20.   Based upon the totality of his observations, the government records check, his
 7 training and experience, USBP Agent Perez suspected the 2007 Chevrolet Suburban SUV
 8 was being used as a smuggling conveyance or was otherwise used to facilitate
 9 illegal conduct.
10               A.     Agent Perez initiated a vehicle stop of the 2007 Chevrolet Suburban
11 SUV at approximately 9:00 a.m. near the Gopher Canyon exit on southbound I-15, near
12 the City of Bonsall.
13         21.   Agent Perez approached the 2007 Chevrolet Suburban SUV on foot, stood
14 next to the vehicle, and identified himself to Alejandro Perez, the driver and sole occupant,
15 as a USBP agent.
16               A.     Alejandro Perez declared himself a United States citizen.
17               B.     Alejandro Perez told Agent Perez he had no undocumented migrants or
18 contraband aboard the vehicle.
19               C.     Alejandro Perez granted Agent Perez permission to inspect the interior
20 of the 2007 Chevrolet Suburban SUV and its contents.
21         22.   USBP Aguayo and his trained and certified USBP controlled substance
22 detection canine, “Rocco” arrived at the site of the enforcement stop.
23         23.   Alejandro Perez granted permission to Agent Aguayo to use Rocco to sniff or
24 examine the 2007 Chevrolet Suburban sedan.
25         24.   USBP Agent Aguayo used Rocco to conduct an examination of the 2007
26 Chevrolet Suburban SUV.
27               A.     Agent Aguayo and Rocco were trained to work as a team.
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 1               B.     Rocco was trained to display behaviors or alert when he detected the
 2 smells or aromas of various controlled substances.
 3               C.     Agent Aguayo was trained and experienced working with Rocco, and
 4 was familiar with Rocco’s behaviors or alerts when Rocco detected illegal drugs.
 5               D.     Rocco alerted to the front undercarriage of the 2007 Chevrolet
 6 Suburban sedan, continued to trace scents to the rear of the vehicle, and ultimately sat down
 7 near the rear driver side tire and wheel well.
 8               E.     Agent Aguayo advised Agent Perez his drug detection dog behaved in
 9 a way that indicated it encountered scents or odors associated with controlled substances
10 about the 2007 Chevrolet Suburban SUV, especially in the area of the rear driver side tire
11 and wheel well.
12         25.   Alejandro Perez again expressed permission to the USBP agents to conduct a
13 search of the 2007 Chevrolet Suburban SUV and its interior spaces.
14               A.     During the search, Agent Aguayo located a large amount of U.S.
15 currency wrapped in cellophane bundles, concealed inside the driver side rear quarter panel
16 of the 2007 Chevrolet Suburban SUV.
17         26.   Alejandro Perez and the 2007 Chevrolet Suburban SUV were transported to
18 the USBP Murrieta station.
19         27.   Later that day, at the USBP Murrieta station, law enforcement personnel
20 opened the hatch or hinged access panel in the floor, just over the fuel tank in the 2007
21 Chevrolet Suburban SUV.
22               A.     The hatch or hinged access panel in the floor was the same one
23 discovered on May 24, 2018 at the San Ysidro POE by the CBP officers.
24               B.     Law enforcement personnel opened the hatch, and removed the factory-
25 installed access panel on the top of the fuel tank.
26               C.     Inside the fuel tank, law enforcement personnel discovered and
27 extracted a long plastic-wrapped tube containing multiple vacuum-sealed, plastic-wrapped
28 bundles of U.S. currency.

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 1         28.   U.S. Homeland Security Investigations (“HSI”) Agent Harris was summoned
 2 to the USBP Murrieta station, and took over the investigation of Alejandro Perez.
 3               A.     Agent Harris advised Alejandro Perez, among other things, the
 4 currency discovered aboard the 2007 Chevrolet Suburban SUV was being seized for
 5 forfeiture to the United States.
 6         29.   At the USBP Murrieta station, Alejandro Perez signed a U.S. Department Of
 7 Homeland Security “Notice Of Abandonment And Assent To Forfeiture Of Prohibited Or
 8 Seized Merchandise” form.
 9               A.     The “Abandoned Merchandise” identified on the form is “U.S.
10 Currency (2 boxes uncounted).”
11               B.     On the form, above Alejandro Perez’ name and signature, the pre-
12 printed message reads, “I hereby abandon all claims to the above-described merchandise,
13 and waive any further rights or proceedings relative to these articles.”
14         30.   Based upon his training and experience, the facts and circumstances leading
15 up to the discovery and seizure of the U.S. currency found by the USBP agents in the 2007
16 Chevrolet Suburban SUV, and Alejandro Perez’ abandonment of the currency, Agent
17 Harris knew, when contacted by the USBP agents earlier that day on the highway,
18 Alejandro Perez was acting on behalf of a criminal drug trafficking group as a drug sale
19 proceeds courier and bulk cash smuggler.
20               A.     When encountered by the USBP agents, Alejandro Perez was
21 transporting the concealed U.S. currency from a location north of the Southern District of
22 California, out of the United States, and into Mexico.
23               B.     The U.S. currency discovered aboard the 2007 Chevrolet Suburban
24 SUV was hidden and concealed to evade detection by U.S. border guards, and to facilitate
25 its covert transportation and undetected delivery to a location in Mexico.
26         31.   The U.S. currency found aboard the 2007 Chevrolet Suburban SUV was
27 gathered together and counted.
28               A.     The grand total was $802,700.00 in U.S. currency.


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 1                B.    The $802,700.00 in U.S. currency seized from inside the 2007
 2 Chevrolet Suburban SUV is the defendant $802,700 in currency.
 3         32.    An HSI agent submitted and caused to be submitted some of the vacuum-
 4 sealed bags and plastic material in which the defendant $802,700 in currency was packaged
 5 to a DHS / CBP laboratory and scientific services unit for a latent fingerprint examination.
 6                A.    A trained and experienced DHS laboratory technician, using
 7 scientifically-appropriate methods, equipment, and techniques examined the currency
 8 packaging material for latent fingerprints.
 9                B.    The DHS laboratory technician discovered a number of usable latent
10 fingerprints upon the currency packaging materials.
11                C.    The DHS laboratory technician compared the usable latent fingerprints
12 to known fingerprints on file with various U.S. national law enforcement data bases.
13                D.    Some of the latent fingerprints discovered on the currency packaging
14 materials were identified to the right thumb and left index finger of Alejandro Perez.
15                E.    The findings of the DHS laboratory technician indicated to the
16 investigating HSI agents that at some point in time before he was encountered on the I-15
17 Highway by the USBP agents, Alejandro Perez handled the defendant $802,700
18 in currency.
19         33.    The defendant $802,700 in currency was seized for forfeiture to the
20 United States as proceeds from the sale and distribution of controlled substances, and as
21 property involved in a violation of Title 31, United States Code, Section 5332, attempted
22 bulk cash smuggling.
23         34.    On October 31, 2018, in the Southern District of California, a Federal Grand
24 Jury panel handed up a single-count indictment in the matter of United States of America
25 v. Alejandro Perez, case number 18cr4667-W, thereby charging Alejandro Perez with a
26 violation of Title 31, United States Code, Sections 5332(a) and (b), attempted bulk cash
27 smuggling, a felony.
28                A.    The defendant $802,700.00 in U.S. currency and the 2007 Chevrolet


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 1 Suburban SUV are alleged in the indictment for criminal forfeiture as property involved in
 2 a violation of Title 31, United States Code, Sections 5332(a) and (b), attempted bulk
 3 cash smuggling.
 4                                            Count 1
 5                                 ($802,700.00 in U.S. Currency)
 6         35.   Paragraphs 1 through 34 are hereby incorporated herein as if alleged in full.
 7         36.   The defendant $802,700.00 in U.S. Currency was money furnished or
 8 intended to be furnished in exchange for a controlled substance, in violation of Chapter 13,
 9 Title 21, United States Code.
10         37.   Alternatively, the defendant $802,700.00 in U.S. Currency was proceeds of or
11 proceeds traceable to an exchange for a controlled substance, in violation of Chapter 13,
12 Title 21, United States Code.
13         38.   Alternatively, the defendant $802,700.00 in U.S. Currency was used or
14 intended to be used to facilitate an exchange for a controlled substance, in violation of
15 Chapter 13, Title 21, United States Code.
16         39.   As a result of the foregoing, the defendant $802,700.00 in U.S. Currency is
17 liable to condemnation and to forfeiture to the United States for its use in accordance with
18 Title 21, United States Code, Section 881(a)(6).
19         40.   The defendant $802,700.00 in U.S. Currency is presently deposited within the
20 jurisdiction of this Court.
21                                            Count 2
22                                 ($802,700.00 in U.S. Currency)
23         41.   Paragraphs 1 through 34 are hereby incorporated herein as if alleged in full.
24         42.   The defendant $802,700.00 in U.S. currency constitutes more than $10,000 in
25 currency or monetary instruments knowingly concealed in a conveyance, article of
26 luggage, or other container, and attempted to be transported from a place inside the
27 United States to a place outside thereof, to wit: the Republic of Mexico, by a person with
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 1 the intent to evade a currency reporting requirement under Title 31, United States Code,
 2 Section 5316, in violation of Title 31, United States Code, Section 5332.
 3         43.   As a result of the foregoing, the defendant $802,700.00 in U.S. currency is
 4 liable to condemnation and to forfeiture to the United States for its use in accordance with
 5 Title 31, United States Code, Section 5332(c).
 6         44.   The defendant $802,700.00 in U.S. Currency is presently deposited within the
 7 jurisdiction of this Court.
 8         WHEREFORE, the United States prays that due process issue to enforce the
 9 forfeiture of the defendant $802,700.00 in U.S. Currency and that due notice be given to
10 all interested parties to appear and show cause why said forfeiture should not be declared.
11         DATED: November 15, 2018
12
                                                        ADAM L. BRAVERMAN
13                                                      United States Attorney
14                                                      s/ Bruce C. Smith
15                                                      BRUCE C. SMITH
                                                        Assistant United States Attorney
16                                                      Attorneys for Plaintiff
                                                        United States of America
17                                                      Email: bruce.smith@usdoj.gov
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